                                                                            Case 2:17-cv-02386-ODW-PLA Document 77 Filed 07/03/18 Page 1 of 2 Page ID #:682



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                                                                                8                     UNITED STATES DISTRICT COURT
                                                                                9                   CENTRAL DISTRICT OF CALIFORNIA
ATKINSON, ANDELSON, LOYA, RUUD & ROMO




                                                                               10 KEVIN A. SHAW,                          Case No.    2:17-cv-02386-ODW-PLA
                                                                               11               Plaintiff,                Hon. Otis D. Wright, II
                           ERROR! NO TEXT OF SPECIFIED STYLE IN DOCUMENT.




                                                                               12 v.
                                   A PROFESSIONAL CORPORATION




                                                                                                                          ORDER TO CONTINUE TRIAL
                                                                               13 KATHLEEN F. BURKE, in her               DATE AND RELATED PRE-
                                         ATTORNEYS AT LAW




                                                                                  individual and official capacities;     TRIAL DATES
                                                                               14 EARIC DIXON-PETERS, in his
                                                                                  individual and official capacities;
                                                                               15 WILLIAM A. MARMOLEJO, in his
                                                                                  individual and official capacities;
                                                                               16 JUAN C. ASTORGA, in his individual
                                                                                  and official capacities; FRANCISCO C.
                                                                               17 RODRIGUEZ, in his official capacity;
                                                                                  SCOTT J. SVONKIN, in his official
                                                                               18 capacity; SYDNEY K. KAMLAGER,
                                                                                  in her official capacity; MIKE FONG,
                                                                               19 in his official capacity; GABRIEL
                                                                                  BUELNA, in his official capacity;
                                                                               20 ANDRA HOFFMAN, in her official
                                                                                  capacity; ERNEST H. MORENO, in
                                                                               21 his official capacity; STEVEN F.
                                                                                  VERES, in her official capacity; and
                                                                               22 CHARLES JOHNSON, in his
                                                                                  individual and official capacities,
                                                                               23                                         Complaint Filed: March 28, 2017
                                                                                                       Defendant.         Trial Date:      December 10, 2018
                                                                               24
                                                                               25
                                                                               26                                    ORDER
                                                                               27       PURSUANT TO STIPULATION, IT IS HEREBY ORDERED that:
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                           005205.00099
                           20664494.1                                                          ORDER TO CONTINUE TRIAL DATE AND RELATED
                                                                                                           PRE-TRIAL DATES
                                                                            Case 2:17-cv-02386-ODW-PLA Document 77 Filed 07/03/18 Page 2 of 2 Page ID #:683



                                                                                1        Good cause having been shown, the schedule of trial and pretrial dates shall
                                                                                2 be continued as follows:
                                                                                3        1.       The Percipient/Fact discovery cutoff shall be continued from
                                                                                4 August 24, 2018 to November 2, 2018;
                                                                                5        2.       The motion hearing cutoff date shall be continued from October 22,
                                                                                6 2018 to January 7, 2019;
                                                                                7        3.       The Final Pre-Trial Conference be continued from November 19, 2018,
                                                                                8 at 1:30 p.m. to February 11, 2019 at 1:30 p.m. (with Counsel Ormond to be present
                                                                                9 in the event Counsel Moisa’s trial starts on schedule); and
ATKINSON, ANDELSON, LOYA, RUUD & ROMO




                                                                               10        4.       The trial date shall be continued from December 10, 2018 at 9:00 a.m.
                                                                               11 to March 12, 2019, at 9:00 a.m.
                           ERROR! NO TEXT OF SPECIFIED STYLE IN DOCUMENT.




                                                                               12
                                   A PROFESSIONAL CORPORATION




                                                                               13        IT IS SO STIPULATED.
                                         ATTORNEYS AT LAW




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                                                                                              7/3/18          , 2018
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                                                                               16                                      _______                       _
                                                                                                                                OTIS D. WRIGHT, II
                                                                               17                                           UNITED STATES DISTRICT JUDGE
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                           005205.00099
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                           20664494.1                                                           [PROPOSED] ORDER TO CONTINUE TRIAL DATE AND
                                                                                                          RELATED PRE-TRIAL DATES
